Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 1 of 23




          EXHIBIT A
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 2 of 23




 SALTZ MONGELUZZI & BENDESKY, P.C.
BY: ROBERT J. MONGELUZZI/ANDREW R. DUFFY/
MICHAEL A. BUDNER/AIDAN B. CARICKHOFF                                    ATTORNEYS FOR PLAINTIFF
IDENTIFICATION NO. 36283/77121/314776/330394
 52nd FLOOR
 1650 MARKET STREET
PHILADELPHIA, PA 19103
 (215)496-8282
 TYLER DUNKIN, as Administrator of the               PHILADELPHIA COUNTY
ESTATE OF DOUGLAS DUNKIN, deceased                   COURT OF COMMON PLEAS
 and in His Own Right                                LAW DIVISION


                                                     APRIL TERM, 2022
                           Plaintiff,
            vs.                                      NO. 1629


D.F. CHASE, INC., PRECAST SERVICES,                  JURY TRIAL DEMANDED
                                                                                  c~>(P
 INC., NITTERHOUSE MASONRY
PRODUCTS, LLC, NITTERHOUSE                                                        x c-
VENTURES, LLC, NITTERHOUSE                                                         — .'-n
                                                                                            cn
PROPERTIES, LP And HUSQVARNA
PROFESSIONAL PRODUCTS, INC.


                                                                                             xr

                       Defendants.



                        PRAECIPE TO REINSTATE COMPLAINT


TO THE PROTHONOTARY:


       Kindly reinstate the Complaint in the above-captioned matter.


                                        SALTZ MONGELUZZI & BENDESKY, P.C.


                                        BY:   /s/ Robert J. Mongeluzzi


                                              ROBERT J. MONGELUZZI
                                              ANDREW R. DUFFY
                                              MICHAEL A. BUDNER
                                              AIDAN B. CARICKHOFF


                                              Attorneys for Plaintiff



Dated: June 15, 2022
        Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 3 of 23




SALTZ MONGELUZZ1 & BENDESKY, P.C.
                                                           Filed and Attested by the
BY: ROBERT J. MONGELUZZI/ANDREW R. DUFFY/                  Office   of .Judicial    Records
MICHAEL A. BUDNER/AIDAN B. CARICKHOFF                   ATTORNEYS            R).2A1NWF
IDENTIFICATION NO. 36283/77121/314776/330394
52nd FLOOR
1650 MARKET STREET
PHILADELPHIA, PA 19103
(215)496-8282
TYLER DUNKIN, as Administrator of the       PHILADELPHIA COUNTY
ESTATE OF DOUGLAS DUNKIN, deceased          COURT OF COMMON PLEAS
and in His Own Right                        LAW DIVISION
4264 Thompson Road
Needmore, PA 17238                          OCTOBER TERM, 2021


                           Plaintiff,       NO.
             vs.

                                            JURY TRIAL DEMANDED
D.F. CHASE, INC.
5930 Hamilton Boulevard, Suite 10
                                                                                        .   i
Allentown, PA 18106
                                                                      •3’^
          And

                                                                                                \
PRECAST SERVICES, INC.
                                                                               ro
1937 Vintage Drive
Easton, PA 1 8045                                                                  XT



          And


NITTERHOUSE MASONRY
PRODUCTS, LLC
859 Cleveland Avenue
Chambersburg, PA 17201


       And


NITTERHOUSE VENTURES, LLC
900 Kriner Road, Suite 1
Chambersburg, PA 1 7202


       And


NITTERHOUSE PROPERTIES, LP
900 Kriner Road, Suite 1
Chambersburg, PA 17202




                                        1


                                                                             Case ID: 220401629
              Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 4 of 23




             And


HUSQVARNA PROFESSIONAL
PRODUCTS, INC.
9335 Harris Comers Parkway, Suite 500
Charlotte, NC 28269



                                        Defendants.

                                            "NOTICE                                                                                 "AVISO
  "You have been sued in court. If you wish to defend against the claims set forth       "Le han demandado en corte. Si usted quiere defenderse contra las demandas nombradas
in the following pages, you must take action within twenty (20) days after this       en las paginas siguientes, tiene veinte (20) dias, a partir de recibir esta   demanda y la
complaint and notice are served, by entering a written appearance personally or by
                                                                                      notification para entablar personalmente o por un abogado una comparecencia escrita y
an attorney and filing in writing with the court your defenses or objections to the
                                                                                      tambien para entablar con la corte en forma escrita sus defensas y objeciones a las demandas
claims set forth against you. You are warned that if you fail to do so the case may
                                                                                      contra usted. Sea avisado que si usted no se defiende, el caso puede continuar sin usted y la
proceed without you and a judgement may be entered against you by the court
without further notice for any money claimed in the complaint or for any other        corte puede incorporar un juicio contra usted sin previo aviso para conseguir el dinero

claim or relief requested by the plaintiff. You may lose money or property or other   demandado en el pleito o para conseguir culquier otra demanda o alivio solicitados por el
rights important to you.                                                              demandante. Usted puede perder dinero o propiedad u otros derechos importantes para
                                                                                      usted.
"YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET                    USTED DEBE LLEVAR ESTE DOCUMENTO ASU ABOGADO INMEDIATAMENTE. SI USTED NO
FORTH BELOW TO FIND OUT WHERE YOU CAN GET LEGAL HELP.                                 TIENE ABOGADO (0 NO TIENE DINERO SUFICIENTE PARA PARGAR A UN ABOGADO), VAYA EN
                                                                                      PERSONA O LLAME POR TELEFONO LA OFICINA NOMBRADA ABAJO PARA AVERIGUAR
 THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.                  DONDE SE PUEDE CONSEGUIR ASSISTENCIA LEGAL. ESTA OFICINA PUEDE PROPORCIONARLE
IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO                     LA INFORMACION SOBRE CONTRATAR A UN ABOGADO.
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE,                               SI USTED NO TIENE DINERO SUFICIENTE PARA PAGAR A UN ABOGADO, ESTA OFICINA PUEDE
     PHILADELPHIA BAR ASSOCIATION                                                     PROPORCIONARLE INFORMACION SOBRE AGENDAS QUE OFRECEN SERVICIOS LEGALES A
     LAWYER REFERRAL and INFORMATION SERVICE                                          PERSONAS QUE CUMPLEN LOS REQUISITOS PARA UN HONORARIO REDUCIDO O NINGUN
     One Reading Center                                                               HONORARIO.
     Philadelphia, Pennsylvania 19107
     (215) 238-1701"                                                                        ASSOCIACION DE LICENDI ADOS DE FILADELFIA
                                                                                           SERVICO DE REFERENCA E INFORMACION LEGAL
                                                                                            One Reading Center                                      ( p
                                                                                                                                                                                   \
                                                                                            Filadelfia, Pennsylvania 19107                      (-~} '1'
                                                                                           Telefono: (215) 238-1701"

                                                                                                                                                     J -n
                                                                                                                                                        -n          O'




                                                                                                                                                                      F<>

                                                                                                                                                                         XT

                                                      COMPLAINT - CIVIL ACTION


             1.            Plaintiff, Tyler Dunkin, is an adult individual and resident of the Commonwealth


of Pennsylvania residing at the above captioned address.


             2.            Tyler Dunkin, is the Administrator of the Estate of Douglas Dunkin, deceased. A


copy of the Letters of Administration for the Estate of Douglas Dunkin is attached as Exhibit A.


             3.            Plaintiff s decedent, Tyler Dunkin, died on August 28, 2020 at the age of 55.

                                                                                  2


                                                                                                                                                             Case ID: 220401629
          Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 5 of 23




       4.        At the time of his death, and at all times relevant hereto, Douglas Dunkin was a


resident of the Commonwealth of Pennsylvania.


       5.        No other actions were commenced during Mr. Dunkin’s life in connection with


the events that caused his death.


       6.        Under 42 Pa. C.S. § 8301(b), Douglas Dunkin’s beneficiaries are:


             •   Tyler Dunkin (son, bom 9/24/1995), residing at the above captioned address; and


             •   J.D., a minor (daughter, bom 10/18/2006), residing at 500 Raystown Road,


                 Everett, PA 15537.


       7.        Defendant, D.F. Chase, Inc. (“D.F. Chase”), is a corporation or other business


entity organized and existing under the laws of the State of Tennessee, with an agent for service


of process located at the above captioned address.


       8.        At all relevant times, Defendant D.F. Chase was acting by and through its agents,


servants, and/or employees who were acting within the course and scope of their agency, service,


and/or employment with D.F. Chase.


       9.        Defendant   D.F.   Chase   has   purposely   established   significant   contacts   in


Pennsylvania, and has carried out, and continues to carry out, substantial, continuous, and


systematic business activities in Pennsylvania, and regularly conducts business in Philadelphia


County.


       10.       Defendant, Precast Services, Inc. (“PSI”), is a corporation or other business entity


organized and existing under the laws of the Commonwealth of Pennsylvania with its principal


place of business located at the above captioned address.




                                                  3


                                                                                             Case ID: 220401629
        Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 6 of 23




       11.      At all relevant times, Defendant PSI was acting by and through its agents,


servants and/or employees who were acting within the course and scope of their agency, service


and/or employment with Defendant PSI.


       12.      Defendant PSI has purposely established significant contacts in Pennsylvania, and


has carried out, and continues to carry out, substantial, continuous, and systematic business


activities in Pennsylvania, and regularly conducts business in Philadelphia County.


       13.       Defendant PSI openly advertises on its company Facebook page that it engages in


large, profit-generating construction products within Philadelphia County: 1


                    Precast Services, Inc.
                    March 3, 2020 • 0

             Wrapping up precast erection at Boulevard Logistics in Philadelphia, PA. This project
             features warehouse space and a publicly accessible self-storage facility.

             Thank you to the FCL Builders & Northeast Precast teams for a job well done!

             #p recastconcrete #precastwarehouse Sfclbuilders #northeastprecast
             #p recastservices #boulevardlogistics #philly




                                             !



                                 El          |


                                                  11                 IWi




1 https://www.facebook.com/Precastservices/posts/wrapping-up-precast-erection-at-boulevard-logistics-
in-philadelphia-pa-this-proi/29 17649084988346/

                                                        4


                                                                                                     Case ID: 220401629
         Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 7 of 23




         14.    Defendant, Nitterhouse Masonry Products LLC, is a corporation or other business


entity organized and existing under the laws of the Commonwealth of Pennsylvania with its


principal place of business located at the above captioned address.


         15.    At all relevant times, Defendant Nitterhouse Masonry Products LLC was acting


by and through its agents, servants and/or employees who were acting within the course and


scope of their agency, service and/or employment with Defendant Nitterhouse Masonry Products


LLC.


         16.    Defendant      Nitterhouse       Masonry   Products     LLC   has    purposely     established


significant contacts in Pennsylvania, and has carried out, and continues to carry out, substantial,


continuous, and systematic business activities in Pennsylvania, and regularly conducts business


in Philadelphia County.


         17.    Defendant, Nitterhouse Ventures LLC, is a corporation or other business entity


organized and existing under the laws of the Commonwealth of Pennsylvania with its principal


place of business located at the above captioned address.


         18.    At all relevant times, Defendant Nitterhouse Ventures LLC was acting by and


through its agents, servants and/or employees who were acting within the course and scope of


their agency, service and/or employment with Defendant Nitterhouse Ventures LLC.


         19.    Defendant      Nitterhouse Ventures        LLC has      purposely    established   significant


contacts in Pennsylvania, and has carried out, and continues to carry out, substantial, continuous,


and    systematic   business   activities   in    Pennsylvania,   and    regularly   conducts    business   in


Philadelphia County.




                                                       5


                                                                                                     Case ID: 220401629
          Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 8 of 23




        20.    Defendant, Nitterhouse Properties LP, is a corporation or other business entity


organized and existing under the laws of the Commonwealth of Pennsylvania with its principal


place of business located at the above captioned address.


        21.    At all relevant times, Defendant Nitterhouse Properties LP was acting by and


through its agents, servants and/or employees who were acting within the course and scope of


their agency, service and/or employment with Defendant Nitterhouse Properties LP.


        22.    Defendant      Nitterhouse    Properties     LP     has    purposely    established    significant


contacts in Pennsylvania, and has carried out, and continues to carry out, substantial, continuous,


and   systematic   business   activities    in    Pennsylvania,     and    regularly    conducts     business   in


Philadelphia County.


        23.    Defendants Nitterhouse Concrete Products, Inc., Nitterhouse Masonry Products


LLC, Nitterhouse Ventures LLC, and Nitterhouse Properties LP are hereinafter collectively


referred to as the “Nitterhouse Defendants.”


        24.    Defendant, Husqvarna Professional Products, Inc. (“Husqvarna”), is a corporation


or other business entity organized and existed under the laws of the State of Delaware with a


principal place of business located at the above captioned address.


        25.    At all relevant times, Defendant Husqvarna was acting by and through its agents,


servants and/or employees who were acting within the course and scope of their agency, service


and/or employment with Husqvarna.


        26.    Defendant      Husqvarna          has   purposely    established       significant    contacts   in


Pennsylvania, and has carried out, and continues to carry out, substantial, continuous, and


systematic business activities in Pennsylvania, and regularly conducts business in Philadelphia


County.




                                                        6

                                                                                                        Case ID: 220401629
          Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 9 of 23




          27.   The Pennsylvania Superior Court, in an en banc binding, published opinion has


already    determined   that venue   over Husqvarna Professional Products,         Inc.   is   proper in


Philadelphia County. See Hangey v. Husqvarna Professional Products, Inc., 247 A.3d 1136 (Pa.


Super. 2021).


                                              FACTS


          28.   On August 28, 2020, Douglas Dunkin was killed while working on a new


construction project at or near 80 Roadway Drive, Carlisle, PA             17013    (hereinafter, “the


Project”).


          29.   At all relevant times, Mr. Dunkin was lawfully on the premises of the Project as a


business invitee, to whom the Defendants owed the highest duty of care.


          30.   On August 28, 2020, Mr. Dunkin, while acting within the course and scope of his


employment, was performing construction work on the Project.


          31.   At all relevant times, Defendant D.F. Chase was the general contractor and/or


construction manager in charge of the Project.


          32.   At all relevant times, Defendants PSI and the Nitterhouse Defendants were


contractors on the Project and provided general construction services.


          33.   At all relevant times, Defendants D.F. Chase, PSI, and the Nitterhouse Defendants


controlled and/or were responsible for the work and the supervision of the work being performed


at the Project and were responsible for the safety of workers at the Project, such as Plaintiff.


          34.   At all relevant times, Defendants D.F. Chase, PSI, and the Nitterhouse Defendants


maintained control over the safety of the worksite and inspected, supervised, and supplied


materials, equipment and personnel for the Project.




                                                  7

                                                                                                Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 10 of 23




       35.     Defendants had a duty to provide workers such as Mr. Dunkin with a safe place to


work, including a duty to inspect the work being performed and the equipment being utilized by


workers.


       36.     Defendants had a duty to provide workers such as Mr. Dunkin with proper


equipment to safely perform their job duties and ensure such equipment was used safely and


properly.


       37.     At the time of the accident, Mr. Dunkin was cutting wall paneling with a


Husqvarna K 760 Cut-n-Break concrete saw (“the subject saw”), which was designed,


manufactured, and sold by Defendant Husqvarna.


       38.     Suddenly and without warning, the subject saw kicked back.


       39.     The saw blade detached from the subject saw, flew at Mr. Dunkin, and struck him


in the neck.


       40.     Mr. Dunkin’s injuries were fatal.


       41.     An autopsy report confirms that Mr. Dunkin was killed by severe blood loss


caused by a traumatic neck laceration.


        42.    The subject saw lacked a guard and/or lacked an adequate guarding mechanism.


        43.    The subject saw lacked an anti-kickback device and/or lacked an adequate anti-


kickback device.


        44.    Prior to August 28, 2020, Defendants knew or should have known that workers on


the Project such as Mr. Dunkin were regularly required to cut wall paneling.

        45.    Prior to August 28, 2020, Defendants knew or should have known that, because


workers were regularly required to cut wall paneling, proper tools and/or equipment to cut the


wall paneling was required to be provided to workers, including Mr. Dunkin.




                                                   8

                                                                                       Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 11 of 23




       46.     Prior to August 28, 2020, Defendants knew or should have known that workers


cutting wall paneling would be exposed to a hazardous and unsafe working condition and an


unreasonable risk of catastrophic injury if they were not provided with the proper tools and/or


equipment to cut wall paneling.


       47.     Despite this knowledge, Defendants failed to provide Mr. Dunkin with proper


tools and/or equipment to cut the wall paneling, thus knowingly exposing Mr. Dunkin to an


unreasonable risk of catastrophic injury.


       48.     Prior to August 28, 2020, Defendants knew or should have known of the unsafe


working conditions at the Project and had a duty to warn workers and safeguard workers, such


as Mr. Dunkin, from the dangers posed by the unsafe working conditions.


       49.     Despite this knowledge, Defendants failed to warn and safeguard workers,


such as Mr. Dunkin, from the dangers posed by the unsafe working conditions existing on


the Project at the time of the accident, thus knowingly exposing Mr. Dunkin to an


unreasonable risk of catastrophic injury.


       50.     Solely and as a direct result of the carelessness, negligence and/or other liability


producing conduct of Defendants, Plaintiff’s decedent Douglas Dunkin sustained injuries that led


to his death; he sustained conscious pain and suffering and fear of impending death; has


sustained a permanent loss of earnings and loss of earning capacity; he has sustained permanent


loss of enjoyment of life, loss of life's pleasures and loss of life's hedonic pleasures; he has been


permanently prevented from performing all of his usual             duties,   occupations, recreational


activities and avocations all to his and his beneficiaries' loss and detriment.




                                                  9

                                                                                             Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 12 of 23




       51.      Plaintiff avers that his injuries and damages were caused solely by the acts of

Defendants jointly and/or individually and/or through their joint and individual agents, servants,

workmen and/or employees as hereinbefore and hereinafter set forth.

                                  COUNT I - NEGLIGENCE
             PLAINTIFF v. D.F. CHASE, PSI and NITTERHOUSE DEFENDANTS

       52.      Plaintiff incorporates all preceding paragraphs in this Complaint here by

reference.


       53.      At all relevant times, Defendant D.F. Chase was the general contractor and/or

construction manager on the Project.


       54.      At all relevant times, Defendant D.F.       Chase possessed, controlled and/or

supervised the Project site and the work on the Project.


       55.      At all relevant times, Defendant PSI and the Nitterhouse Defendants were


contractors on the Project.


       56.      At all relevant times Defendants D.F. Chase, PSI, and the Nitterhouse Defendants

undertook the supervision of the work being performed at the Project, and in connection

therewith, established plans, recommendations, designs, procedures, and specifications for the

performance of said work.


        57.     At all relevant times, Defendants D.F. Chase, PSI, and the Nitterhouse Defendants

maintained control over the safety of the worksite and inspected, supervised and/or supplied

materials, equipment, and personnel for the Project.

        58.     Defendants D.F. Chase, PSI, and the Nitterhouse Defendants, having undertaken

the inspection and supervision of the work, owed a duty to those persons engaged in the


performance of said work, including Mr. Dunkin, a business invitee, to provide a reasonably safe




                                                 10

                                                                                          Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 13 of 23




environment, free from unreasonable and dangerous hazards, within which to perform the


construction work.


       59.         Defendants D.F. Chase, PSI, and the Nitterhouse Defendants had a duty to adopt,


promulgate and enforce proper, adequate, necessary, and appropriate standards, guidelines and


procedures for the establishment and maintenance of workplace and work site safety for the


protection of the construction personnel, including Mr. Dunkin.


       60.         At   all   relevant   times,   Defendants   D.F.   Chase,   PSI,   and   the   Nitterhouse


Defendants,       individually, jointly and/or severally,       maintained     certain responsibilities   and


obligations for the Project, including responsibilities for keeping said Project free from hazards,


the responsibility not to create dangerous conditions by their activities thereon, and to implement


and enforce all safety precautions, including, but not limited to, assuring that adequate safety


equipment and procedures were in place, warning contractors and subcontractors about safety


hazards, providing workers with the proper tools to perform their work, providing workers with


safe tools, and ensuring that the work was being performed to meet all applicable safety rules


and regulations, in conformance with best practices in the construction industry.


       61.         Defendants D.F. Chase, PSI, and the Nitterhouse Defendants, by and through their


agents, servants, workmen and/or employees, acted negligently, carelessly and/or recklessly,


both generally and in the following respects:


             a)    failing to provide Plaintiff a safe place in which to work;

             b)    failing to provide and/or ensure workers at the Project, such as Plaintiff, had
                   appropriate and/or safe tools when cutting wall paneling;

             c)    failing to provide and/or ensure workers that the tools given to workers on the
                   Project, such as Plaintiff, were the right tools for the job;

             d)    failing to provide Plaintiff with a guarded and/or adequately guarded saw;

             e)    failing to provide Plaintiff with a table saw and/or otherwise stable saw with
                   which to cut wall paneling;

                                                        11

                                                                                                     Case ID: 220401629
Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 14 of 23




  f)    failing to implement and/or enforce adequate fall prevention policies and
        procedures to protect workers from kickback hazards at the Project;

  g) providing Plaintiff with a dangerous and defective product;

  h) providing Plaintiff with the subject saw even though Defendants knew the saw
     lack an anti-kickback device and/or lack an adequate anti-kickback device;

  i)    providing Plaintiff with the subject saw even though Defendants knew the saw
        lacked a guard and/or lacked an adequate guard;

  j)    providing Plaintiff with the subject saw which was prone to kickback failure;

  k) providing Plaintiff with the subject saw whose blade was prone to dislodging;

   1)   allowing workers such as Plaintiff to use an unguarded and/or inappropriate saw,
        despite knowing that workers were required to use a saw to perform their job
        duties;

   m) failing to enforce and/or train all employees, contractors, subcontractors, material
        suppliers and others engaged on the Project on proper and safe cutting techniques
        and procedures;

   n) failing to provide workers on the Project, including Plaintiff, with the product
        safety manual for the subject saw;

   o) failing to ensure workers such as Plaintiff were provided adequate and explicit
      warnings regarding the significant dangers associated with using the subject saw
      and/or the risk of kickback when using the subject saw to cut wall paneling;

   p)   failing to properly develop, plan, plot, design, coordinate, supervise, inspect,
        maintain, manage, sequence and control the construction work and the
        construction site premises;

   q) failing to properly inspect or require that others under their control inspect the
        Project thoroughly and regularly to identify, remedy and post warnings about
        dangerous and hazardous conditions;

   r)   breaching their duties under the Restatement (Second) of Torts, including but not
        limited to §§323, 324(a), 341A, 343, 384, 402A, 412, 413, 414, 416, 422, 423,
        424, 427, 427A and 496D;

   s)   failing to properly train, supervise, manage and equip their employees;

   t)   failing   to   hire   competent      employees,   safety   inspectors,    contractors,
        subcontractors, advisors, managers, equipment providers, material suppliers and
        others to assure a safe workplace free of hazards;

   u) failing to warn Plaintiff, a business invitee, of the peculiar, dangerous and/or
      unsafe conditions existing upon the construction site premises;



                                          12

                                                                                     Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 15 of 23




             v)   exposing Plaintiff, a business invitee, to unreasonable danger by failing to adopt,
                  enact, employ and enforce proper and adequate safety programs, precautions,
                  procedures, training, supervision, measures and plans;

             w) violating and failing to comply with all federal and state statutes, local ordinances,
                and all other rules, enactments or regulations applicable, or in effect, be they
                  administrative, industry-wide or otherwise pertaining to the performance of
                  construction work, including but not limited to applicable OSHA regulations;

             x) performing and furnishing construction services in a wholly inadequate, unsafe
                  and negligent manner;

             y)   failing to assure that a "Competent Person" who is capable of identifying existing
                  and predictable hazards in the surroundings or working conditions which are
                  unsanitary, hazardous, or dangerous to employees, and who has authorization to
                  take prompt corrective measures to eliminate them is present on the construction
                  site and in a position of authority at all times;

             z)   failing to properly supervise the planning, coordination, scheduling, sequencing
                  and performance of the construction work, including the work of all contractors,
                  subcontractors, material suppliers and others engaged on the Project site;

             aa) failing to cease and/or postpone construction work until proper and necessary
                  precautions could be taken to safeguard business invitees including Plaintiff; and

             bb) failing to ensure the work was being done in a safe manner at all times.

       62.        By reason of the carelessness, negligence, gross negligence, recklessness and


other liability-producing conduct of Defendants D.F.                  Chase,   PSI,   and the Nitterhouse

Defendants, as aforesaid, Plaintiff has sustained serious and fatal injuries as more fully set forth


above and incorporated by reference here.


       63.        By conducting themselves as set forth above, Defendants D.F. Chase, PSI, and the


Nitterhouse Defendants’ acts and/or omissions were a substantial factor in, a factual cause of,


and/or increased the risk of Douglas Dunkin’s fatal injuries.


       WHEREFORE, Plaintiff, claims of Defendants, D.F. Chase, Inc., Precast Services, Inc.,


Nitterhouse Concrete Products, Inc., Nitterhouse Masonry Products LLC, Nitterhouse Ventures


LLC, and Nitterhouse Properties LP, jointly and/or severally, sums in excess of the jurisdictional




                                                      13

                                                                                                 Case ID: 220401629
         Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 16 of 23




threshold in damages, exclusive of interest, costs, and delay damages pursuant to Pa.R.C.P.


§238, and brings this action to recover the same.


                       COUNT II - STRICT PRODUCTS LIABILITY
                                PLAINTIFF v. HUSQVARNA


         64.   Plaintiff incorporates   all preceding    paragraphs   in    this   Complaint   here   by


reference.


         65.   Defendant Husqvarna is in       the regular business        of designing,   assembling,


manufacturing, distributing, selling and/or supplying equipment such as the subject Husqvarna K


760 Cut-n-Break saw.


         66.   Defendant Husqvarna marketed and/or placed the subject saw involved in Mr.


Dunkin’s accident into the general stream of commerce.


         67.   The subject saw was distributed, sold, and/or supplied by Defendant Husqvarna in


a defective condition because of its unsafe and improper construction and design.


         68.   Specifically, the subject saw was defective in that it was subject to kickback


failure, the saw’s blade was subject to dislodging, the saw lacked an anti-kickback device and/or


lacked an adequate anti-kickback device, and the saw lacked a guard and/or lacked an adequate


guard.


         69.   The subject saw was expected to and did reach end users, including Mr. Dunkin,


without substantial change in the condition in which it was designed, assembled, manufactured,


sold, and/or supplied by Defendant Husqvarna.


         70.   At all relevant times, the subject saw was used and employed for the purpose for


which it was designed and manufactured and was used in a foreseeable manner.


         71.   The subject saw was in a defective condition as: (1) the dangers associated with


the product were unknowable and unacceptable to the average or ordinary consumer; and/or (2) a



                                                    14


                                                                                               Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 17 of 23




reasonable person would conclude that the probability and seriousness of the harm posed by the


subject saw outweighed the burden or costs of taking precautions.


       72.         The subject saw’s defective condition was a cause of the fatal injuries Mr. Dunkin


suffered.


        73.        Defendant Husqvarna is strictly liable to Plaintiff for the injuries and damages


suffered as a result of this accident.


        WHEREFORE, Plaintiff claims of Defendant, Husqvarna Professional Products, Inc.,


jointly and/or severally, sums in excess of the jurisdictional threshold in damages, exclusive of


interest, costs, and delay damages pursuant to Pa.R.C.P. §238, and brings this action to recover


the same.


                                     COUNT III - NEGLIGENCE
                                    PLAINTIFF v. HUSQVARNA



        74.        Plaintiff incorporates   all   preceding     paragraphs   in this   Complaint here by


reference.


        75.        Defendant    Husqvarna’s       negligence,    gross   negligence,    carelessness,   and


recklessness caused Mr. Dunkin’s fatal injuries and death in the following particular respects:

              a.   failing to design and/or utilize proper designs for the manufacture, assembly, sale,
                   and distribution of the subject saw so as to minimize the risk of injury or death to
                   persons working in conjunction with and/or in and around the subject saw;

              b.   failing to direct and require manufactures/assemblers to adhere to applicable
                   safety regulations and standards;

              c.   failing to adequately inform and warn purchasers and ultimate users of the subject
                   saw of the risk of kickback and blade dislodgment hazards created by the
                   operation and use of the subject saw;


              d.   designing, assembling, manufacturing, selling,            supplying and distributing a
                   product in a defective condition;




                                                       15

                                                                                                   Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 18 of 23




             e.   designing,   assembling, manufacturing, selling,        supplying and distributing a
                  product that was unreasonably dangerous to the user;


             f.   designing,   assembling,   manufacturing,    selling,   supplying and    distributing a
                  product which was not reasonably fit, suitable or safe for its intended and
                  represented purpose;

             g.   designing,   assembling, manufacturing, selling,        supplying and distributing a
                  product which lacked all necessary safety features to protect users of said product;

             h.   designing, assembling, manufacturing, selling,          supplying and distributing     a

                  product which could be designed more safely;

             i.   designing,   assembling, manufacturing,      selling,     supplying and distributing   a

                  product without appropriate devices to permit safe cutting of wall paneling;

             j.   failing to incorporate safety measures into the product that would have prevented
                  the risk of injury or death to its operators and users;

             k.   designing, assembling, manufacturing,        selling,     supplying and distributing   a

                  product that is prone to kickback;


             1.   designing,   assembling, manufacturing, selling,          supplying and distributing   a

                  product whose blade is prone to becoming dislodged;


             m.   designing,   assembling, manufacturing,      selling,     supplying and distributing   a

                  product that lacked an anti-kickback device and/or lack an adequate anti-kickback
                  device;


             n.   designing,   assembling, manufacturing, selling,          supplying and distributing a
                  product that lacked a guard and/or lacked an adequate guard;

             o.   failing to adequately and properly test said product after its design and/or
                  assembly under reasonably foreseeable circumstances; and

             p.   failing to recall and/or retrofit the front wheel loader with safety measures that
                  would have prevented the risk of injury or death to its operators and users.


       76.        As a result of Defendant’s negligence, gross negligence, carelessness, and


recklessness, Mr. Dunkin was caused to sustain fatal injuries and death as set forth above.

       WHEREFORE, Plaintiff claims of Defendant, Husqvarna Professional Products, Inc.,


jointly and/or severally, sums in excess of the jurisdictional threshold in damages, exclusive of




                                                     16

                                                                                                 Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 19 of 23




interest, costs, and delay damages pursuant to Pa.R.C.P. §238, and brings this action to recover

the same.


                                   COUNT IV - BREACH OF WARRANTY
                                      PLAINTIFF v. HUSQVARNA


       77.     Plaintiff incorporates all preceding paragraphs in this Complaint here by

reference.



       78.     In   designing,      manufacturing,    fabricating,   marketing,    promoting,    selling,

distributing, delivering, installing and/or supplying the subject saw and its component parts,

Defendant Husqvarna warranted, both expressly and impliedly, that the subject saw was safe

from defects, of merchantable quality, and fit and safe for their intended use and the ordinary

purposes for which it was sold.


       79.      Defendant warranted       and represented that the       subject   saw   was    designed,


manufactured, distributed, marketed, assembled, tested, supplied and/or sold in a proper manner,

reasonably fit, safe and suitable for the use for which it was intended.

        80.     The subject saw was not designed, manufactured, marketed, assembled, supplied,

sold and/or tested in a proper manner, reasonably fit, safe and suitable for the use intended and,

as a result, Defendant breached the implied and expressed warranty of merchantability.

        81.     Defendant breached the aforesaid warranties, both express and implied, by

providing Plaintiff with the defective and unsafe subject saw, as more fully described above,

which was unmerchantable and unfit for the ordinary purpose for which it were intended.

        82.     Defendant’s breach of the implied warranty of merchantability was a substantial

factor in causing, a factual cause of, and/or increased the risk of Mr. Douglas’s serious,

debilitating and fatal injuries.




                                                     17

                                                                                                 Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 20 of 23




       WHEREFORE, Plaintiff claims of Defendant, Husqvarna Professional Products, Inc.,

jointly and/or severally, sums in excess of the jurisdictional threshold in damages, exclusive of

interest, costs, and delay damages pursuant to Pa.R.C.P. §238, and brings this action to recover

the same.


                              COUNT V - WRONGFUL DEATH ACTION
                                   PLAINTIFF v. ALL DEFENDANTS


        83.     Plaintiff incorporates    all preceding paragraphs    in this Complaint here by

reference.



        84.     Plaintiff Tyler Dunkin brings this action as Administrator of the Estate of Douglas

Dunkin, on behalf of those entitled by law to recover for his wrongful death, under and by virtue

of 42 Pa. C.S.A. § 8301, et seq, commonly known as the Pennsylvania Wrongful Death Act.


        85.     No action for damages was brought by Douglas Dunkin during his lifetime as a

result of the accident at issue in this case.


        86.     Plaintiff Tyler Dunkin claims damages for the pecuniary loss suffered by

decedent’s beneficiaries by reason of the death of Douglas Dunkin, and specifically for

reimbursement of medical expenses, funeral expenses, and expenses of administration.

        87.     Plaintiff Tyler Dunkin, individually and as Administrator of the estate of Douglas

Dunkin, claims for decedent’s beneficiaries’ damages resulting from the deprivation of comfort,

aid, assistance, society and the loss of guidance and tutelage to his beneficiaries due to his death.

        88.     The acts and omissions set forth herein were done in a negligent, grossly

negligent, willful, reckless and wanton fashion, with a conscious indifference to the rights of

members of the public generally, and decedent in particular.




                                                  18

                                                                                             Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 21 of 23




       WHEREFORE, Plaintiff claims of Defendants, jointly and/or severally, sums in excess

of the jurisdictional threshold in damages, exclusive of interest, costs, and delay damages

pursuant to Pa.R.C.P. §238, and brings this action to recover the same.


                              COUNT VI - SURVIVAL ACTION
                              PLAINTIFF v. ALL DEFENDANTS


       89.      Plaintiff incorporates    all preceding paragraphs   of this   complaint here by

reference.


       90.      Plaintiff, Tyler Dunkin, Administrator of the Estate of Douglas Dunkin, brings

this action under and by virtue of 42 Pa. C.S.A. § 8302, commonly known as the Pennsylvania

Survival Act.


       91.      The Estate of Douglas Dunkin claims damages               for pain and suffering,

embarrassment, humiliation, disfigurement, and loss of enjoyment of life undergone by the

decedent as a result of the Defendants’ tortuous conduct, up to and including the time of death,

and damages for the amount that Douglas Dunkin would have earned from the date of his death

to the end of his life expectancy.


        92.     The acts and omissions set forth herein were done in a negligent, grossly

negligent, willful, reckless and wanton fashion, with a conscious indifference to the rights of

members of the public generally, and decedent in particular.

        WHEREFORE, Plaintiff claims of Defendants, jointly and/or severally, sums in excess

of the jurisdictional threshold in damages, exclusive of interest, costs, and delay damages

pursuant to Pa.R.C.P. §238, and brings this action to recover the same.




                               SALTZ MONGELUZZI & BENDESKY, P.C.


                               BY:       /s/ Robert J. Mongeluzzi



                                                   19

                                                                                          Case ID: 220401629
        Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 22 of 23




                              ROBERT J. MONGELUZZI
                              ANDREW R. DUFFY
                              MICHAEL A. BUDNER
                              AIDAN B. CARICKHOFF


                              Attorneys for Plaintiff
Date:   April 20, 2022




                                         20

                                                                     Case ID: 220401629
       Case 1:22-cv-01375-YK Document 1-5 Filed 07/28/22 Page 23 of 23




                                         VERIFICATION



        The averments or denials of fact contained in the foregoing are true based upon the signer's

personal knowledge or information and belief.        If the foregoing contains averments which are

inconsistent in fact, signer has been unable, after reasonable investigation, to ascertain which of the

inconsistent averments are true, but signer has knowledge or information sufficient to form a belief

that one of them is true. This Verification is made subject to the penalties of the 1 8 Pa. C.S. §4904,

relating to unsworn falsification to authorities.




                                                                             '                       —

                                         Tyler Dunkin, Administrator of the Estate of Douglas Dunkin



Date:^|o, I




                                                    20

                                                                                             Case ID: 220401629
